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UNITED STATES DISTRICT COURT"`

 

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

THE UNITED STATES ()F AMERICA
vS.
DOUGLAS STROMS YORK

INDICTMENT l

 

 

Count One: 18 U. S. C. § 912- False Imp onation of an
Employee of the United St

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A.D. 2015

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United States Magistrate Jua'ge

 

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CaS€52153U`-00226-E.]D

MELINDA HAAG (CABN 132612)
United States Attorney

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
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SAN JOSE DIVISION 13 LF
UNITED STATES OF AMERICA, ) NQR 1 5 0 U 2 2 6
)
Plaintiff, ) VIOLATION; 18 U.S.C. § 912 - False Impersonation
) of an Employee of the United States D C;-~“
v. § '-‘ RM?*G
DOUGLAS STROMS YORK, ) SAN JOSE VENUE
)
Del"endant. )
)
1 N D I C T M E N T
The Grand Jury Charges:

On or about February 23, 2012, in the Northem District of California, the defendant,
DOUGLAS STROMS YORK,
did falsely assume and pretend to be an officer and employee of the United States acting under the
authority thereof, that is as an agent of the lntemal Revenue Service, and in such assumed and pretended
character did act as such, in that he falsely stated that he was an A-gent of the Internal Revenue Serviee

engaged in investigating tax records, in violation of Title 18, United States Code, Section 912.

INDICTMENT

 

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DATED: April 22, 2015

MELINDA HAAG
United States Attomey

FREY NEDRO
Chief, San lose Branch Oftice

(Approved as to form:(H:a¢!ér-»" )

SAUSA PENNA

 

 

INDICTMENT 7 2

CaseB:lB-"c°r'lOOZZ€-E.]D Documentl FiledO4E2/15 PageS 01°4

A TRUE BILL

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FOREPERSON

 

CaseB:lB-Cl`-OOZZ€-E.]D Documentl FiledOS/Z'Z`/J§DB

Ao 251r (Rev. sna)

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DEFENDANT 1NF0RMAT10N RELATive To A cainniNAi_ AcTtoN '-'tN`t§,'elsTRicT count

 

BY: l:l COMPLA|NT l:l 1NFORMAT10N lNDiCTMENT

0FFENSE cHARGED l:l supeRseoiNe

 

 

18 U.S.C. § 912- False impersonation ofan Emp|oyee of the g Pelly
United States
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|V|isde-
l:] meanor
Fe|ony

PENALTY:
Max Pena|ties:

3 years imprisonment 5250,0001ine; 1 year supervised release;
5100 special assessment fee

Name of District Court. and/or JudgeiMagistrale Location

SAN JOSE DlVlS|ON

NORTHERN oisTRicT oi= cAi_iFORNl!-‘,\,\ , l `

 

 

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D|STR|CT COURT NU|V|BER

cR15

 

 

 

PROCEED|NG

Name of Comp|aintant Agenoy, or Person (& Tit|el if any)

T|GTA Donna Aguirre

|:| person is awaiting trial in another Federa| or State Court.
give name of court

 

 

this person/proceeding is transferred from another district
I:l per (circ|e one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
l:] charges previously dismissed

which were dismissed on motion SHOW

cfc DOCKET NO.
|:| u.S.ATTORNEv [:] DEFENSE }

this prosecution relates to a
pending case involving this same

 

 

 

defendant MAG|STRATE
CASE NO.
prior proceedings or appearance(s)
|:| before U.S. Nlagistrate regarding this

defendant were recorded under --__-_

L 4

Name and Of‘lice of Person

Furnishing information on this form MEL|NDA HAAG

 

|§|U.S.Attorney |:| OtherU.S.Agency

Name of Assistant U.S.

Attorney (if assigned) SAUSA Brianna Penna

 

 

PROCESSZ
|:| SU|V||V|ONS |:] NO PROCESS* WARRANT

lf Summons, complete following:
|:| Arraignment |:] initial Appearance

Defendant Address:

Date/Time:

 

Comments:

ADD|T|ONAL |NFORMATlON OR CO|V|MENTS

|S NOT lN CUSTODY

1) lf not detained give date any prior
summons was served on above charges »

2) |:] ls a Fugitive

3) |j ls on Bai| or Re|ease from (show District)

  

Has not been arrested pending outcome this proceeding

 

|S lN CUSTODY
4) [:| On this charge

5) |:\ On another conviction

} [:] Federal \:[ State

6) |:| Awaiting trial on other charges
|f answer to (6) is "Yes", show name of institution

 

Has detainer l:l Yes giv;&:jsate
been filed'? m No

filed
DATE OF , Nlontthay/Yeer
ARREST

 

Or... if Arresting Agency 81 Warrant were not

DATE TRANsr-'ERRED Moritthanyear
To u.s. cusTooY

 

 

 

 

|:] This report amends AO 257 previously submitted

 

Bai| Amount: Ngne

* Where defendant previously apprehended on complaintl no new summons or
warrant needed since Magistrate has scheduled arraignment

Before Judge:

 

